Case 1:20-cr-00398-GBD Document 72

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

we ew ee ee eee ee ew Bw eB BB EB Ee ee ee x
UNITED STATES OF AMERICA, :
-against- :

DOS SANTOS et al., :
Defendants. :

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GEORGE B. DANIELS, District Judge:

File

 

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ORDER

20 Crim. 398 (GBD)

The January 14, 2021 status conference is adjourned to March 25, 2021 at 10:00 a.m. Time

is excluded in the interest of justice pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), until

that time.

Dated: New York, New York
January 12, 2021

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GEPRGOB. DANIELS
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d States District Judge

 
